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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA ex rel.
 MICHELLE CALDERON,

                   Plaintiff,
                                              Case No. l:16-cv-00920-RLY-MJD
             V.



  CARRINGTON MORTGAGE SERVICES, LLC,

                   Defendant.



    CARRINGTON MORTGAGE SERVICES, LLC'S MEMORANDUM OF LAW IN
   SUPPORT OF ITS MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                        FOR FAILURE TO STATE A CLAIM
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         Defendant Carrington Mortgage Services, LLC ("Carrington") respectfully submits this

 memorandum of law in support of its motion to dismiss the Second Amended Complaint (Dkt.

  79) pursuant to Fed. R. Civ. P. 9(b) and 12(b)(6).

                                         INTRODUCTION

         This is relator, Michelle Calderon's ("Relator's"), third attempt at pleading a violation of

 the False Claims Act ("FCA"). And this effort fares no better than her first or second. Rather

 than cure the deficiencies identified in the Court's Order on Defendant's Motion to Dismiss the

 Amended Complaint (Dkt. 75) (the "Order"), Relator regurgitates information that Carrington

  has produced in discovery - information of which Relator had no personal knowledge prior to

  filing this case. But her parroting of discovery material does not meet the heightened pleading

  standards required for fraud claims of this type. Nor does it reveal any independent and direct

  knowledge of fraud that is required when asserting claims under the FCA.

         As the Court knows, Carrington participates in the Federal Housing Administration

  ("FHA") program as a Direct Endorsement Lender, originating, underwriting, and closing FHA-

  insured mortgage loans. In her Amended Complaint (Dkt. 40), Relator alleged that, fi:om 2013 to

  2015, Carrington engaged in a fraudulent practice of underwriting and closing, and then seeking

  coverage for, FHA loans that it knewwere ineligible for insurance. In doing so, Relator provided

  six sample loans that were allegedly ineligible for insurance, but she failed to allege that these

  loans were the subject of claims for payment to the federal government. In its Order, the Court

  held that this failure, and the failure to plead the required elements of falsity, materiality, and

  scienter with particularity, warranted dismissal of Relator's FCA claims.

         Nevertheless, the Court gave Relator leave to replead. But the Second Amended

  Complaint ("SAC") simply quotes from documents Relator obtained firom Carrington during
  prior discovery in this action. As such, the SAC is no improvement on its predecessor: as
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 explained in detail below, Relator's FCA claim still fails as a matter of law and should be

 dismissed - this time with prejudice.

         As a threshold matter, the SAC's new allegations - all of which come from discovery

 produced by Carrington - should be disregarded. Rule 9(b)'s heightened pleading requirement

 aims to minimize fishing expeditions and strike suits, brought by plaintiffs, such as Relator, who

  seek to imcover the missing details of an insufficient fraud claim through discovery. Well-settled

  caselaw requires that a relator base her allegations on independent and direct knowledge of fraud

  and not skirt a proper precomplaint investigation by using discovery materials produced by a

  defendant. But Relator has done just that. Instead of giving the Court new allegations that rest on

  her independent knowledge of fraudulent conduct, the SAC contains nothing more thanRelator's

  after-the-fact interpretation of loan files produced by Carrington. Such a practice eviscerates the

  very purpose of Rule 9(b), and once the purported facts taken from discovery material are

  disregarded, the SAC is no different from its deficient predecessor.

         Even with the information gleaned from discovery, the SAC's allegations fall woefully

  short of Rule 9(b)'s particularity requirement and fail to plead violations of the FCA. For

  example, although the SAC now points to four loans that actually defaulted and were the subject
  of claims made on the government, there is no allegation thatthese loans didnot properly qualify

  for HUD insurance or that any purported representation made by Carrington was material to

  HUD's decision to make payment on a resulting claim. Absent such facts, Relator cannot satisfy

  Rule 9(b)'s heightened pleading standards and cannot state a viable claim for violation of the
  FCA.


          Relator characterizes herself as a whistleblower. The reality is that she has not alleged

  any facts, from her independent knowledge, suggesting that a false claim was presented to the
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  Government. Under such circumstances, it is not surprising that, after having had an opportunity

  to review the documents and information provided by Relator, including the information alleged

  in each of the complaints, the Government has not intervened on behalf of the United States at

  any point in the twenty-three months since the case was initiated. Given Relator's inability to

  allege such facts, Carrington respectfully requests that this Court dismiss Relator's claims with

  prejudice.

                                   FACTUAL BACKGROUND

  1.     DIRECT ENDORSEMENT PROGRAM

         A.      Carrington's Role as a Direct Endorsement Lender.

         Carrington is a residential mortgage lender and limited liability company organized and

  existing mider the laws of Delaware, with its principal place of business in California. Second

  Am. Compl. ("SAC") H12. From March 2013 to March 2015 (the "Covered Period"), Relator

  worked as an underwriter in Carrington's Fishers, Indiana office. Id.\6, 11. The FHA, a part of

  the Department of Housing and Urban Development ("HUD") since 1934, is the largest insurer

  of residential mortgage loans in the world. Id. H13. Under the FHA Direct Endorsement

  Program, FHA-approved lenders with Direct Endorsement Authority ("Direct Endorsement

  Lenders") mayunderwrite mortgages for FHAinsurance without priorHUD review. Id.\ 15.

         During the Covered Period, Carrington served as a Direct Endorsement Lender and

  expanded the accessibility of homeownership, offering loans to underserved and creditworthy

  consumers who did not qualify for loans under conventional underwriting criteria. Id. f 14.

  Because those loans met FHA's underwriting guidelines and program requirements, Carrington

  then submitted them to FHA for insurance coverage. Id.     15-16.
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         B.       Underwriting of FHA-insured Loans.

         To evaluate and ultimately extend loans, Camngton used FHA's underwriting software

  ("TOTAL") and its own HUD-approved automated underwriting system ("AUS"). Id. at                       24-

  25. TOTAL is a credit-rating algorithm maintained by FHA that works in conjunction with a

  HUD-approved AUS. Id.           8, 25. When considering a loan application, Carrington entered

  various credit variables into the AUS, such as the borrower's monthly income, and TOTAL

  subsequently evaluated the borrower's overall credit and assigned an "accept/approve" rating or

  a "refer" rating. Id. Loans that received an "accept/approve" rating were subject to less stringent

  documentation requirements and underwriter scrutiny. Id.           8, 26. Loans that received a "refer"

  rating were manually underwritten by Carrington and required additional documentary support.

  Id. 126. Irrespective of whether a loan is characterized as "accept/approve" or "refer," once a

  loan closes, the only information transmitted to HUD is the final Finding Report, which is

  generated just prior to the endorsement ofthe loan. Ex. 1' (FHA Single Family Housing Policy
  Handbook 4000.1) at Section II.A.4.a. HUD will not receive any other information about the

  borrower that previously may have been entered into either an AUS or TOTAL. Id.

         When manually underwriting loans, Carrington collected and eveduated a variety of

  information about the borrower's credit and the property that would secure the loan, assessed the

  importance and effect of the information on the risk the loan presented, applied underwriting

  standards, and made a judgmentaboutwhether the borrower represented an acceptable creditrisk

  for HUD. SAC        15, 18, 20, 27. At the end of this process, Carrington provided a loan-specific




  *       "Ex." refers to the exhibits attached to the accompanying Declaration of Niketa K. Patel ("Decl") in
  support of Defendant's Motion to Dismiss the Second Amended Complaint for Failure to State a Claim, dated
  March 2,2018.
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  certification that the data used by Carrington had "integrity" and that the loan was "eligible for

  HUD mortgage insurance." Id. UK 32, 37; see also Ex. 2 (09/2010 Form HUD-92900-A)^ at 3.
          C.         Refinancing of FHA-insured Loans.

          HUD also authorized Carrington to approve pre-existing FHA loans for refinancing. SAC

  K30. Refinancing was another avenue to expand homeownership opportunities by lowering the

  borrower's monthly principal and interest payments. Id. In approving loans for refinancing,

  Carrington employed the same underwriting practices discussed above and would "make all

  certifications required for th[e] mortgage as set forth in HUD Handbook 4000.4." Id. K33; see

  also Ex. 2 (09/2010 Form HUD-92900-A) at 3-4. For both originated loans and subsequent

  refinancings, Carrington conducted quality control reviews to ensure that there was no fraud on

  the part of the borrower. SAC K39.

              D.     Claims Submission Process for FHA-insured Loans.

              In the event that a borrower defaulted on payments for a HUD-endorsed loan, the lender

  would follow stringent servicing and loss mitigation requirements. See Ex. 1 (FHA Single

  Family Housing Policy Handbook 4000.1) at Section III. If a foreclosure eventually ensued,

  Carrington had to follow the claim submission process outlined in the Handbook in order to

  submit a loan-specific claim to HUD for insurance benefits. See id. at Section IV-A-l-a.

  Carrington could submit these claims via the Electronic Data Interchange system, the FHA

  Connection system, or by paper. Id. at Section IV-A-l-a-vii. Typically, HUD wouldthen pay the

  mortgage insurance claim presented on that particular loan, provided that the claim submission


  ^           09/2010 FormHUD-92900-A is incorporated by reference into the SAC. See SAC KH 32, 37. The Supreme
  Court has instructed that a court is not limited to the four comers of the complaint and may consider documents
  "incorporated into the complaint by reference." Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322
  (2007) (citing 5B WRIGHT &MILLER, FEDERAL PRACTICE &PROCEDURE § 1357 (3d ed. 2004 & Supp. 2007)). See
  also Wright v. Associated Ins. Cos, 29 F.3d 1244, 1248 (7th Cir. 1994) ("[D]ocuments attached to a motion to
  dismiss are considered part of the pleadings if they are referred to in the plaintiffs complaint and are central to his
  claim.").
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  "pass[ed] all system edits and control checks," and Carrington "provide[d] all required

  documentation." See id. at Section IV-A-3.

         E.     HUD's Monitoring and Review of FHA-insured Loans.

         HUD has implemented mechanisms that allow it to monitor and review loans endorsed

  for insurance by Direct Endorsement Lenders. Specifically, approved Direct Endorsement

  Lenders are required to submit "case binders" that contain all loan origination documentation to

  HUD for a Post Endorsement Technical Review ("PETR"). Ex. 4 (HUD Handbook 4155.2,

  Chapter 9)^ at Section 9.0.1.a. The need for PETR is founded on HUD's recognition that
  "underwriting decisions rely heavily on the subjective interpretation of the DE lender." Id. at

  9.B.l.b. Thus, through PETR, HUD is able to evaluate the "risk that loans represent to FHA's

  insurance funds" and the "lender's compliance with FHA's [] underwriting requirements and []

  documentation requirements." Id. at 9.B.l.a.

         The minimum percentage of case binders selected for PETR is "5% of endorsed loans

  originated by each lender's home and branch offices," although local HUD field offices have
  wide discretion to set a higher percentage based upon factors they deem appropriate. Id. at

  Section 9.C.l.b. A reviewer conducting PETR will assign one of three ratings to the loan under

  review: "conforming," "deficient," or "unacceptable." Id. at Section 9.C.3.C. "Conforming"

  indicates that there are no documentation deficiencies in the loan file, "[t]he loan presents an

  acceptable level of risk," and "[t]he basic eligibility of the borrower and/or property for FHA

  mortgage insurance is not questioned." Id. at Section 9.C.2.b. "Deficiency" signifies that the
  reviewer identified documentation deficiencies or processing errors but the loan still "presents an

  acceptable level of risk." Id. "Unacceptable" represents that the "loan should not have been


         HUD Handbook 4155.2is incorporated by reference intothe SAC. See SAC 119.
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  approved" or that "the file is missing key documents necessary to determine whether the

  underwriting was performed appropriately in compliance with FHA standards." Id. If a lender

  receives an "unacceptable" rating it must provide an adequate explanation of the deficiencies

  identified by the reviewer within 45 days. Id. at Section 9.C.4.a. Relator does not allege that

  Carrington failed to submit the required case binder or that, after PETR, Carrington received a

  "deficient" or "unacceptable" rating.

  II.    PURPOSE OF THE FCA

         The purpose of the FCA is to encourage whistleblowers (known as "relators") to come

  forward early to expose (and stop) fraud on the government. Accordingly, the FCA gives relators

  a considerable incentive: they are entitled to up to 30% of whatever the government recovers. 31

  U.S.C. § 3730(d)(2). The Relator in this case—Calderon—^broadly alleges that Carrington

  certified loans that were not eligible for insurance or refinancing under the FHA guidelines, and

  asserts causes of action for violations of the FCA. The SAC makes these allegations without

  alleging independent knowledge on Relator's part that any specific loan defaulted or that

  Carrington subsequently presented a specific claim for insurance to HUD. Instead, Relator relies

  only on information produced by Carrington during discovery to make her claim.

  III.   PROCEDURAL HISTORY

         As is customary in FCA cases, the original Complaint remained under seal while the

  Government evaluated the merits of the case and whether to intervene in the Lawsuit. After a

  review of the materials, the United States declined to intervene on January 27, 2017 (Dkt. 10).

  The Court thereafter unsealed the Complaint, and Relator served Carrington on or around

  March 3, 2017. Carrington filed its Motion to Dismiss the Complaint on April 24, 2017 (Dkt.

  26). In response to that motion, Relator filed an Amended Complaint (Dkt. 40) onJune 7, 2017.
  The Amended Complaint referenced several loans that Relator alleged did not satisfy HUD
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  requirements, see, e.g.. Am. Compl.           6-9, but Relator failed to allege that Carrington made

  false (or for that matter any) claims on these loans. Carrington again moved to dismiss Relator's

  claims on July 21, 2017 (Dkt. 48).

         In its Order on the Motion to Dismiss (Dkt. 75), the Court held that Relator "failed to

  allege the elements of falsity, scienter, or materiality to support her FCA claims." Order at 11.

  Specifically, the Court stated:

         Falsity: "Calderon has failed to make the link between the allegedly fraudulent
         underwriting practice to a specific person or a specific mortgage, nor did she
         allege facts that create an inference that at least one of the 27,000 claims she
         found more likely than not links back to a falsely-certified loan." Order at 13.

         Scienter: "The court agrees with Carrington that the allegations in the Amended
         Complaint with respect to what Carrington knew or should have known are too
         vague to satisfy the relaxed scienter requirement . . . She never provides a
         connection between any one defect that made any loan with that defect
         universally unacceptable and the default of that loan such that Carrington would
         seek payment under the relevant insurance contract." Id. at 15.

         Materiality: "There is no attempt to address or provide facts from which an
         inference can be drawn that the 'at least one' unidentified violation was actually
         material to any decision made by HUD, much less a decision to pay Carrington . .
         . [S]he must at least try to make a connection between the allegedly fraudulent
         underwriting decisions and HUD's subsequent payment of funds to Carrington."
         Id. at 18.

          During the pendency of Carrington's prior Motion to Dismiss, the parties engaged in

  discovery. On June 21,2017, Relator served Carrington withher FirstRequests for Production of

  Documents, and on November 3, 2017, Relator served her Second Requests for Production of

  Documents. Decl."^ t 5. Among the documents requested were files for loans that were endorsed

  by Carrington during the Covered Period and that resulted in claims to the government. Id. H6.
  Thus far, Carrington has produced 106,451 pages in response to these document requests, and its
  productions are ongoing. Id.          7, 10. The documents produced include, among other things.
  ^       "Decl." refers to the accompanying Declaration ofNiketa K. Patel filed in support ofCarrington's Motion
  to Dismiss the SecondAmended Complaint for Failureto Statea Claim.
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  underwriting files, servicing histories, payment histories, and claims information for loans

  endorsed by Carrington during the Covered Period. Id. K8.

         Relator filed the SAC (Dkt. 79) on January 31, 2018. With the exception of parroted

  discovery material, the SAC is almost identical to the Amended Complaint. The SAC includes

  only one relevant change: it removes six of the loan numbers cited in the Amended Complaint -

  loans which Relator could not allege resulted in a claim to the government - and replaces them

  with purported facts gathered from four sets of loan files produced by Carrington during

  discovery. See Exs. 5-8 (excerpts of Bates-stamped and produced loan files). The SAC provides

  no additional facts from Relator's personal knowledge or any independent investigation she may

  have conducted.

                                         LEGAL STANDARD

         Relator's SAC is subject to the pleading requirements of Federal Rule of Civil Procedure

  8 and, because it involves allegations of fraud, the heightened standards of Rule 9(b). United

  States ex rel. Gross v. AIDS Research Alliance Chicago, 415 F.3d 601, 604 (7th Cir. 2005). Rule

  8 requires that a complaint provide "enoughfacts to state a claimto relief that is plausible on its

  face." BellAtl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim has facial plausibility only

  when the plaintiff pleads factual content that allows the court to draw the reasonable inference

  that the defendant is liable for the misconduct alleged. Ashcroft v. Iqbal, 556 U.S. 662, 678

  (2009). "Where a complaint pleads facts that are 'merely consistent with' a defendant's liability,

  it 'stops short of the line between possibility and plausibility of entitlement to relief.'" Id. (citing

  Twombly, 550 U.S. at 557).

          Given the nature of her allegations—a purported fraud committed by Carrington—

  Relator must also satisfy the requirements of Rule 9(b). See United States ex rel. Hanna v. City

  of Chicago, 834 F.3d 775, 779 (7th Cir. 2016); United States ex rel. Garst v. Lockheed-Martin
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  Corp.y 328 F.3d 374, 376 (7th Cir. 2003). Thus, Relator must detail the "who, what, when,

  where, and how" of the circumstances giving rise to Carrington's alleged false claims. HannOy

  834 F.3d at 779; Garst, 328 F.3d at 376; United States ex rel Conroy v. Select Med. Corp., 2016

  WL 5661566, at *15 (S.D. Ind. Sept. 30,2016) (Young, J.).

         To meet the high burden imposed by Rule 9(b) in this case, Relator must "identify

  specific false claims for payment or specific false statements made in order to obtain payment."

  Garst, 328 F.3d at 376 (emphases in original). When "a false statement is alleged," Relator must

  "connect that statement to a specific claim for payment and state who made the statement to

  whom and when." Id. And when the alleged false claims are part of a larger fraudulent scheme

  involving numerous transactions, Relator must at least provide the particular facts of

  "representative examples." United States ex rel. Graziosi v. Accretive Health, Inc., 2017 WL

  1079190, at *6 (N.D. 111. Mar. 22,2017).

         Critical to this point, as discussed more fully below, these details must be provided at the

  outset of the case: A relator cannot file suit and hope to "learn the complaint's bare essentials

  through discovery." United States ex rel. Clausen v. Lab. Corp. ofAm., Inc., 290 F.3d 1301,

  1313 n.24 (11th Cir. 2002). Rather, a "plaintiff must come to court with a 'claim in hand.'"

  United States ex rel. Crews v. NCS Healthcare of III., Inc., 460 F.3d 853, 856 (7th Cir. 2006)

  (quoting United States ex rel. Aflatooni v. Kitsap Physicians Serv., 314 F.3d 995, 1002 (9th Cir.

  2002)). And the plaintiff must have "direct and independent knowledge of the information on

  which the allegations are based." United States ex rel. Feingold v. AdminaStar Fed, Inc., 324

  F.3d492,497 (7th Cir. 2003).




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                                           ARGUMENT


  I.     THE SECOND AMENDED COMPLAINT IMPERMISSIBLY USES DISCOVERY
         MATERIAL TO ALLEGE A CLAIM UNDER THE FCA.

         A.     The Policies Behind Rule 9(b) and the FCA's Heightened Pleading
                Requirements Require Relator to Allege Independent Knowledge of Fraud.

         The FCA was enacted to encourage people "with knowledge of undisclosed fraud" to

  report such fraud. Clausen, 290 F.3d at 1310 n.l7. This knowledge must be "direct and

  independent," and a whistleblower "must have voluntarily provided the information to the

  Government before instituting a suit." Feingold, 324 F.3d at 497 (citation and quotation marks

  omitted).

         The Act imposes liability upon anyone who "knowingly presents, or causes to be

  presented," to the government, "a false or fraudulent claim for payment or approval," or who

  "knowingly makes, uses, or causes to be made or used, a false record or statement material to a

  false or fraudulent claim." 31 U.S.C. § 3729(a)(1)(A), (B). To establish civil liability under the

  FCA, a relator must statewith sufficient particularity "(1) that the defendant made a statement in

  order to receive money from the government; (2) that the statement was false; and (3) that the

  defendant knew the statement was false." United States ex rel Yannacopoulos v. Gen. Dynamics,

  Inc., 652 F.3d 818, 822 (7th Cir. 2011); see also United Statesex. rel. Morison v. Res-Care, Inc.,

  2017 WL 468287, at *2 (S.D. Ind. Feb. 3,2017) (Young, J.) (same).

          Forher claim to proceed, a plaintiff must also meet the heightened pleading standards of

  Rule 9(b) by identifying a specific false statement and "connect[ing] that statement to a specific
  claim for payment and state who made the statement to whom and when[.]" Garst, 328 F.3d at
  376. "Rule 9(b) should be applied with an eye toward fulfilling the Rule's underlying purposes."

  S.E.C. V. Benger, 697 F. Supp. 2d 932, 937 (N.D. 111. 2010) (quoting Gelco Corp. v. DuvalMotor
  Co., 2002 WL 31875537, at *6 (N.D. 111. Dec. 26, 2002)). These purposes include: "(1)

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  protecting a defendant's reputation from harm; (2) minimizing ^strike suits' and 'fishing

  expeditions'; and (3) providing notice of the claim to the adverse party." Vicom, Inc. v.

  Harbridge Merck Servs., Inc.^ 20 F.3d 771, 111 (7th Cir. 1994) (citations omitted); Jepson, Inc.

  V. Makita Corp., 34 F.3d 1321, 1327 (7th Cir. 1994) (same); Hirata Corp. v. J.B. Oxford & Co.,

  193 F.R.D. 589, 592 (S.D. Ind. 2000) (same).^ Thus, "[b]y requiring the plaintiff to allege the

  who, what, where, and when of the alleged fraud" at the outset of the litigation, "Rule 9(b) . . .

  forc[es] the plaintiff to do more than the usual investigation before filing his complaint" Id. at

  592 (emphasis added) (quoting Ackerman v. Nw. Mut. Life Ins. Co., 172 F.3d 467, 469 (7th Cir.

  1999)).

            The protections afforded by Rule 9(b) are particularly important in FCA cases like this,

  both because of the high bounty offered to successful relators and because relators are frequently

  former employees who have an axe to grind against their ex-employers. See Clausen, 290 F.3d at

  1313 n.24 (recognizing that relators who fail to plead with specificity "needlessly harm a

  defendant's goodwill and reputation by bringing a suit that is, at best, missing some of its core

  underpinnings, and, at worst, are baseless allegations used to extract settlements.").

  Accordingly, courts have expressed the need to effectuate Rule 9(b)'s underlying purposes with

  particular force in the context of qui tam suits, where there is already a clear reluctance toward

  granting a right of action to "opportunisticplaintiffs" who, before filing suit, "have no significant

  information to contribute of their own." Bellevue v. Universal Health Servs. ofHartgrove, Inc.,

  867 F.3d 712, 716 (7th Cir. 2017) (quoting Graham Cty. Soil & Water Conservation Dist. v.

  United States ex rel. Wilson, 559 U.S. 280,294 (2010)).


  ^         See also, e.g.. United States ex rel. Nathan v. Takeda Pharm. N. Am., Inc., 707 F.3d 451, 456 (4th Cir.
  2013) (noting "multiple purposes of Rule 9(b), namely, of providing notice to a defendant of itsalleged misconduct,
  ofpreventing frivolous suits, of'eliminat[ing] fraud actions in which all the facts are learned after discovery,' and of
  'protect[ing] defendants from harm to their goodwill and reputation'") (citation omitted); United States ex rel.
  SNAPP, Inc. V. Ford Motor Co., 532 F.3d496, 504 (6th Cir. 2008) (same).


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          In view of these concerns, courts have steadfastly refused to grant qui tarn relators a

  "ticket to the discovery process" in order to leam the specific details necessary to satisfy Rule

  9(b). United States ex rel Lusby v. Rolls-Royce Corp., 2007 WL 4557773, at *8 (S.D. Ind. Dec.

  20, 2007) (quoting Clausen, 290 F.3d at 1307); see also, e.g.. United States ex rel. Liotine v.

  CDW-Gov't, Inc., 2009 WL 720958, at *1 (S.D. 111. Mar. 18, 2009) (granting motion to stay

  discovery pending ruling on Rule 9(b) motion because "the purpose of [Rule 9(b)] is frustrated

  by allowing a relator ... to engage in discovery in the hope of uncovering enough specifics to

  adequately plead a case"); UnitedStates v. Ortho-McNeil Pharm., Inc., 2007 WL 2091185, at *5

  (N.D. 111. July 20, 2007) ("Rule 9(b) does not tolerate" "suit[s] based upon [the] suspicion that

  Defendants engaged in unlawful conduct with the hope that discovery will unearth some specific

  FCA violation.").

          In the same vein, a relator may not attempt to satisfy Rule 9(b) by amending his or her

  complaint with "new allegations based upon discovery that the relator obtained from the

  defendant." United States ex rel. Underwood v. Genentech, Inc., 720 F. Supp. 2d 671, 678 (E.D.

  Pa. 2010) (citing United States ex rel. Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220, 231

  (1st Cir. 2004), abrogated on other grounds by United States ex rel. Nargol v. DePuy
  Orthopaedics, Inc., 865 F.3d 29 (1st Cir. 2017)).^ In other words, to comply with Rule 9(b), a qui

  ^        Numerous other courts have reached similar holdings. See e.g., Webb v. Everhome Mortg., 704 F. App'x
  327, 330 (5th Cir. 2017) (upholding dismissal under Rule 9(b) where plaintiff sought todetermine missing details of
  insufficient fraud claim through discovery); United States ex relStinson, Lyons, Gerlin &Bustamante, P.A.. v. Blue
  Cross Blue Shield ofOa., 755 F.Supp. 1040,1052 (S.D. Ga 1990) (prohibiting relator from engaging in discovery to
  comply with heightened pleading obligations and noting that the "[t]he clear intent ofRule 9(b) is to eliminate fraud
  actions in which all the facts are learned through discovery after the complaint is filed.") (citation and quotation
  marks omitted); United States ex rel. Wilson v. Kellogg Brown &Root, Inc., 525 F.3d 370, 380 (4th Cir. 2008) ("[I]f
  allowed togo forward, Relators' FCA claim would have to rest primarily on facts learned through the costly process
  ofdiscoveiy. This is precisely what Rule 9(b) seeks to prevent."); United States ex rel Joshi v. St. Luke's Hosp.,
  Inc., 441 F.3d 552, 559 (8th Cir. 2006) (rejecting plaintiffs request to permit discovery to satisfy Rule 9(b)); United
  States ex rel Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220, 231 (1st Cir. 2004) ("[Cjourts have repeatedly
  refused to allow qui tam relators to rely on later discovery to comply with Rule 9(b)'s pleading requirements");
  Madonna v. United States, 878 F.2d 62, 66 (2d Cir. 1989) ("[Plaintiffs] contention, that discovery will unearth
  information tending to prove his contention offraud, is precisely what Rule 9(b) attempts to discourage."); Knudsen

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  tarn relator's allegations must be the product of her independent knowledge and "precomplaint

  investigation" - not discovery material obtained from the defendant after the complaint was

  filed. See Ackerman, 172 F.3d at 469 (dismissal under Rule 9(b) proper where "plaintiffs'

  lawyers still had not completed the required investigation" to learn specific details of alleged

  fraud); United States ex rel Grenadyor v. Ukrainian Vill Pharmacy, Inc., 772 F.3d 1102, 1108

  (7th Cir. 2014) (specific details needed to satisfy Rule 9(b) "are all things that [plaintiff], if he

  isn't fabricating the incident, would know without having to conduct discovery."); In re

  Discovery Zone Sec. Litig., 943 F. Supp. 924, 941 (N.D. 111. 1996), superseded on other grounds

  in Chu V. Sabratek Corp., 100 F. Supp. 2d 827 (N.D. 111. 2000) (To be sufficient under Rule 9(b),

  a complaint "must necessarily be drafted without the benefit of discovery."). To hold otherwise

  would be manifestly inconsistent with the purposes underlying Rule 9(b) and the FCA.

           B.       The Court Should Disregard All Allegations Based on Facts Learned
                    Through Discovery.

           When dismissing Relator's previous complaint, this Court made clear that Relator needed

  to make numerous allegations to satisfy Rule 9(b). Specifically, the Court held that Relator

  "never connects a single loan to a specific fraudulent underwriting practice performed by a

  specific individual" and never "connect[s] an FHA-insured mortgage obtained through a

  fraudulent practice to a claim for payment on a defaulted loanmade by Carrington." Order (Dkt.

  75) at 12-13. Citing these deficiencies, among others, the Court heldthat Relator "failedto allege

  the elements of falsity, scienter, or materiality to support her FCA claims." Id. at 11. The Court

  invited Relator to "at least try to make a connection between the allegedly fraudulent


  V. Sprint Commc'ns Co., 2016 WL 4548924, at *15 (N.D. Gal. Sept. 1, 2016) ("[D]iscovery is an inappropriate
  avenue to cure . . . deficient pleadings); United States ex rel. Bingham v. HCA, Inc., 2016 WL 6027115, at *5 n.6
  (S.D. Fla. Oct. 14,2016) ("Material learned through discovery... cannot cure an FCA complaint's failure tosatisfy
  Rule 9(b)." (citing Clausen, 290 F.3d at 1313 n.24)); United States ex rel. Polansky v. Pfizer, Inc., 2009 WL
  1456582, at »10 (E.D.N.Y. May 22, 2009) (denying plaintiffs request for discovery to learn details necessary to
  satisfy Rule 9(b)).


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  underwriting decisions and HUD's subsequent payment of funds to Carrington." Id. at 18. But

  nothing in the Court's ruling gave Relator permission to use discovery obtained from Carrington

  to cure those deficiencies. And nothing in the FCA or the caselaw allows Relator to do that

  either.


            In the SAC, Relator impermissibly uses loan files produced by Carrington during

  discovery - loan files that were produced even though Relator's Amended Complaint failed to

  state an FCA claim - in an attempt to save her pleading.''^ Ex. 9 is a comparison document
  which identifies the differences between the Amended Complaint and the SAC. Decl. ^ 19. The

  comparison demonstrates that Relator deleted the six example loans that she had previously

  alleged were fraudulent. Ex. 9 at 2. The comparison also reveals two new paragraphs in the SAC:

  Paragraphs 6 and 10. Id. at 2-17, 19. Paragraph 10 alleges that Carrington committed fraud by

  submitting mortgage insurance certifications in an untimely manner. It is completely unrelated to

  the fraudulent underwriting claims or any specific loans, and does not allege an FCA claim for

  reasons that are discussed infra Section II.A.4. In contrast. Paragraph 6's allegations are loan-

  specific, and derived exclusively from discovery material Carrington has produced in this matter.

  See Exs. 5-8 (excerpts from Bates-stamped and produced loan files).^'^®


  '       While its motion to dismiss Relator's Amended Complaintwas pending, Carrington producedloan files for
  some of the FHA-insured loans it endorsed during the Covered Period, and upon which claims for insurance were
  submitted to HUD. Decl. ^ 9. These productions were made on November 10, 2017 and November 17, 2017, and
  were marked with a Bates-stamp identifier at the time of production. Id.
  ®        Carrington filed a motion to staydiscovery in thismatter on February 20,2018. SeeDkt. 86. Inthemotion,
  Carrington argued thata "stay [ofdiscovery would] support thepolicies underlying theparticularity requirements of
  Federal Rule of CivilProcedure 9(b)," where the Court has yet to determine if Relator has "alleged violations of the
  False Claims Actwith sufficient particularity." Memorandum in Support of Motion to Stay Discovery (Dkt. 87)at 7.
  United States ex rel. Schutte v. Supervalu, Inc., 2016 WL 3906570, at *1 (C.D. 111. July 14, 2016). In particular,
  Carrington noted that, as it continues to produce loan files and claims information - a burdensome and costly
  endeavor - Relator may continue to improperly amend her pleading in an attempt to save her claims. Magistrate
  Judge Dinsmore denied the motion on February 23,2018.SeeDkt. 89.
  '        The excerpts in Exhibits 5 through 8 are Bates-Stamped documents produced by Carrington that contain
  much ofthe loan-specific information Relator now relies upon in order to plead her claims with particularity. While
  Carrington does not attach the complete loan files here, as they are voluminous, these excerpts alone demonstrate
  that Relator used these loan files to make her allegations. Specifically, Relator usedthe information in Exhibit 5 to


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           Beyond copying and pasting the information in the loan files produced by Carrington,

  Relator engages in a post-hoc interpretation of these loan files to re-plead her case, making

  assumptions and interpretations in an attempt to allege a "representative example" of the

  purported fraudulent scheme. See SAC f 6. However, the SAC is devoid of any allegation that

  Relator (1) acted as an underwriter for any of these loans, or (2) spoke contemporaneously with

  any Carrington employee that did work on these files. This lack of independent knowledge

  renders Relator unable to allege, beyond a conclusory manner, that Carrington knowingly

  provided false certifications for the loans it endorsed. Id,

           This parroting of discovery material in the SAC is exactly the type of "defamatory and

  extortionate" behavior by a plaintiff who has not conducted the proper "precomplaint

  investigation" that is prohibited by Rule 9(b). Ackerman^ 172 F.3d at 469-70; see also Hanna,

  834 F.3d at 780 ("This may be the real problem with [relator]'s case: the FCA is meant to

  encourage whistleblowing by insiders, and [relator] seems to have no insider knowledge."). And

  allowing Relator to satisfy Rule 9(b) in this manner would undermine both Rule 9(b) and the

  purpose of the FCA.



  make her allegations for Loan 1, SAC If 6.a. (the excerpt shows that the borrower was approved for a loan to
  purchase a property in Lindale, Texas (cited by Relatorat id.), the borrowerhad verifiedassets of $11,328.69 (cited
  by Relator at id. T| 6.a.xiii-xiv), the purchase was partially financed with an $11,000 gift (cited by Relator at id. ^
  6.a.xx), and the underwriteron the loan had CHUMS ID Bf49 (cited by Relator at id. ^ 6.a.xix). Exhibit 6 relates to
  Loan 2, SAC If 6.b. (theexcerpts showthat the borrower wasapproved for a loan to purchase a property in Florence,
  Kentucky (cited by Relator at id. If 6.b.iii.), the purchase pricewas $99,800 (cited by Relator at id.), the borrower's
  monthly income was $2,833 (cited by Relator at see id. If 6.b.viii.), and the underwriter on the loan had CHUMS ID
  Aa79 (cited by Relator at id. \ 6.b.xv). Exhibit 7relates to Loan 3, SAC If 6.C., (the excerpts show that the borrower
  was approved for a loan to purchase a property in Bonaire, Georgia (cited by Relator at id.), the purchase price was
  $106,000 (cited by Relator at id.), the borrower's monthly income was $3750.07 (cited by Relator at ^ 6.c.v.), and
  the underwriter on the loan had CHUMS ID GA38 (cited by Relator at id If6.c.x.). Finally, Exhibit 8 relates to Loan
  4, SAC If 6.d. (theexcerpts show thatthe borrower was approved for a refinance on a property in Savannah, Georgia
  (cited by Relator at id.), the specific refmance involved was a "streamline" refinance (cited by Relator at id.,), the
  borrower had recently been divorced, (cited by Relator at id. If 6.d.ii-iii.), and the underwriter on this refinance had
  CHUMS ID Hg20 (cited by Relator at id. If6.d.iv.).
           The excerpts fi-om these loan files have been redacted to protect non-public personal information, such as
  borrower information.




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         A recent FCA case - United States ex rel. Bingham v. HCA, Inc. - is instructive on this

  issue. In Bingham, the relator alleged that defendant, a healthcare services provider, perpetrated a

  healthcare fraud scheme at two medical facilities it owned. 2016 WL 344887, at *1 (S.D. Fla.

  Jan. 28, 2016). Ruling on defendant's motion to dismiss the amended complaint, the court

  dismissed one of relator's FCA claims under Rule 9(b) and granted leave to amend. Id. at *8-9.

  The Bingham relator subsequently filed a second amended complaint and defendant moved to

  dismiss arguing "that [relator] impermissibly use[d] information learned through discovery to

  supplement allegations in his [second amended complaint], and that without that information, the

  [second amended complaint] is so threadbare as to warrant dismissal." 2016 WL 6027115, at *4

  (S.D. Fla. Oct. 14, 2016). The Bingham court agreed and ordered "all facts learned through

  discovery . . . stricken from the [second amended complaint]" under Fed. R. Civ. P. 12(f), and

  the claims dismissed. Id. at *5 & n.6. As support for its decision, the court cited both the FCA's

  focus on granting a right of action only to citizens with "independently-obtained knowledge of

  fraud," and the principle that Rule 9(b) cannot be satisfied with "details [that] emerge through

  subsequent discovery." Id. at *4.

         In this case, Relator's loan-specific and claim-specific allegations, which rely exclusively

  on information obtained through discovery, are exactly the type of allegations that were stricken

  in Bingham. They are a poor attempt to disguise her lack of independent knowledge of a single

  false claim presented to the government. As such, the Court should disregard the allegations in

  Paragraph 6 of the SAC, and any reference to such allegations throughout. As explained in

  Bingham, information learned through discovery is "immaterial" because it plainly cannot cure

  an FCA complaint that was previously dismissed for failure to satisfy 9(b). Furthermore, any

  allegations based on purported facts learned through discovery prejudice Carrington, particularly



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  where Relator has thus far offered nothing of her own to show that her claims of fraud are

  "responsible and supported" at the outset of this litigation. Ackerman, 172 F.3d at 469.

            Once the allegations derived from discovery material are disregarded, the SAC becomes

  nothing more than a carbon copy of the Amended Complaint. The Court dismissed that pleading

  for failure to satisfy Rule 9(b), and it should similarly dismiss the SAC- this time with prejudice.

  II.       THE    SECOND AMENDED              COMPLAINT FAILS TO ALLEGE A                       CLAIM
            UNDER THE FCA.

            Once stripped of the alleged facts learned exclusively through discovery, it is clear that

  the SAC fails to allege an FCA claim with the particularity required by Rule 9(b). But even with

  the benefit of those alleged facts, Relator still fails to adequately allege the elements of falsity,

  scienter, or materiality in the manner necessary to support her claims. The failure to allege any

  one—^much less all three—of these necessary elements requires the dismissal of Relator's

  claims.


            A.     The Second Amended Complaint Fails to Allege Falsity.

            Relator's allegations of falsity generally fall into three categories of conduct: (1) reckless

  underwriting and false certification of loans for FHA insurance; (2) manipulating data entered

  into TOTAL/AUS and communicating the results to borrowers; and (3) violation of HUD's self-

  reporting requirements. See, e.g., SAC 11117-9. Separately, Relator alleges that Carrington was

  tardy in submitting loans to FHA for mortgage insurance coverage. Id. H 10. For numerous

  reasons, the SAC has not plausibly alleged that any category of conduct amounts to false claims

  or false statements connected to claims for payment—and it certainly has not done so with the

  particularity required by Rule 9(b).

            To plead falsity, Relator must allege that Carrington improperly sought FHA insurance

  payouts on specific defaulted mortgage loans that did not originally meet HUD's underwriting


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  requirements. The Seventh Circuit has consistently held that, when bringing fraud claims, the

  plaintiff must describe "the who, what, when, where, and how [of the alleged fraud]: the first

  paragraph of any newspaper story." United States ex rel Lusby v. Rolls-Royce Corp., 570 F.3d

  849, 853 (7th Cir. 2009); see also Hanna, 834 F.3d at 779 (same). In other words, Rule 9(b)

  requires the plaintiff to state "the identity of the person making the misrepresentation, the time,

  place, and content of the misrepresentation, and the method by which the misrepresentation was

  communicated to the plaintiff." Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 737 (7th

  Cir. 2014).

         Further, "[w]here the allegedly false certification relates to a failure to comply with

  certain statutory and regulatory provisions, the plaintiff should be able to tell the [defendant]

  which [provisions] it flouted, and how and when." Hanna, 834 F.3d at 779; see also Crews, 460

  F.3d at 858 (upholding summary judgment on FCA claim where plaintiff "fail[ed] to point to a

  federal regulatory requirement" that defendant violated); United States ex rel. Fowler v.

  CaremarkRX, Inc., 2006 WL 3469537, at *6 (N.D. 111. Nov. 30, 2006) (holding FCA allegations

  not particular where plaintiffdid not "specifically identify which regulation" defendant violated).

         As such, Relator must provide specific examples demonstrating that individual

  Carrington underwriters acted with the requisite scienter in certifying specific mortgage loans as

  eligible for FHA insurance or refinancing when they were, in fact, in violation of the applicable

  HUD requirements, and that these same mortgage loans defaulted and led to specific claims for

  payment made by Carrington. While Relator uses prior discovery in this case to identify four

  loans that defaulted, she has not alleged with the required particularity that the bases upon which

  Carringtonobtained FHA insurance were false.




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               1.        Allegations Regarding False Certifications.

         Relator alleges that Camngton submitted false certifications to HUD by "approv[ing]

  loans for government insurance and refinancing that clearly did not meet the applicable

  underwriting requirements." SAC H 6. Relator then attempts to provide loan-specific examples

  by reciting and interpreting information from various loan files produced by Carrington. See,

  e.g., Exs, 5-8 (excerpts of Bates-stamped and produced loan files). Even if these materials could

  be used to plead an FCA claim - which they cannot - the manner in which Relator uses them

  does not amount to a sufficiently pled allegation of falsity for a number of reasons.

         To start, Relator falls far short of pleading the "what" or the "specific fraudulent

  underwriting practice." Order at 12. Throughout her loan-specific allegations, Relator states that

  the loan files she reviewed show multiple Desktop Underwriting ("DU") system submissions by

  the underwriter. See, e.g., SAC     6.a.iii-iv, vii-xviii. She alleges that the multiple submissions

  are "evidence of manipulation of the system and fraudulent submissions." Id. f 6.a.iii. But

  nowhere does she point to a single HUD guideline that prohibits underwriters from running these

  submissions more than once. Nor does she cite to a HUD requirement that places a limit on the

  number of times an underwriter is permitted to enter application data for the same loan into DU.

  In fact, no such requirement exists. See, generally Ex. 1 (FHA Single Family Housing Policy

  Handbook 4000.1).

          And there are a number of reasons why an underwriter may need to run multiple

  submissions, such as (a) changes in information after verification is initially received from
  employers or banks, (b) changes during the application period in income, assets, ordebts ofthe
  borrower, or (c) appraisal updates affecting value. Relator makes no allegation that any of these
  conditions did not exist for the specific loans she cites. Accordingly, she has not done enough to

  "nudg[e]" these allegations regarding multiple DU submissions "across the line from

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  conceivable to plausible." Twombly, 550 U.S. at 570." Such vague descriptions of violations,
  without citation to the requisite provisions, renders it "nearly impossible for [Carrington] to

  prepare a defense." Hanna, 834 F.3d at 779-80.

            Where Relator does cite to a specific HUD requirement that was allegedly violated, she

  often misstates the provision. For example, although all the loans referenced in the SAC were

  underwritten by computer - that is, using DU, a HUD-approved AUS - Relator cites to HUD

  guidelines that apply only when the loan is manually underwritten. See, e.g., SAC K 6.a.xvi.

  (quoting Ex. 3^^ (HUD Handbook 4155.1, Chapter 4, Section C) at Section 4.C.2.d. that applies
  to "Collection Accounts and JudgmentsApplicable to Manually Underwritten Loans*'' (emphasis

  added)). Relator's attempt to plead falsity in this fashion cannot meet the test for particularity.

  See Luckey v. Baxter Healthcare Corp., 183 F.3d 730, 733 (7th Cir. 1999) (holding that relator

  failed to plead falsity where she alleged that defendant was required to perform certain tests that

  the relevant regulations did not require defendantto perform).

            Other HUD guidelines cited in the SAC are not as clear-cut as Relator would have the

  Court believe. Relator alleges that Carrington's imderwriters failed to document or explain

  certain debts on some loans in violation of DU requirements. See, e.g., SAC UK 6.a.v., 6.b.vii.

  The HUD guidelines provide a detailed list of the different categories of borrower debt, and the

  documentation or explanation required for each. See Ex. 1 (FHA Single Family Housing Policy

  Handbook 4000.1) at Section II.A.4.b.iii-iv. For example, if a borrower's debt is classified as.

  "         These are nottheonly allegations relating to falsity thatareunsupported by any citation to a corresponding
  HUD requirement. Throughout Paragraph 6, Relator makes conclusory statements that certain documentation inthe
  loan file is evidence of fraud or violates HUD's rules without specifying a particular requirement. See, e.g., SAC ^
  6.a.v. ("The following accounts were noted as omitted from the Underwriting Analysis. DU requires that
  documentation be provided to support the omission. No documentation was provided."); SAC ^ 6.b.xii. ("Applicants
  [sic] statement is directly contradicted by Carrington Underwriter Aa79 who indicates in the Loan Ti^smittal that
  Borrower 2 had been paying the mortgage at her father's home while she lived there. This intentional
  misrepresentation offacts is evidence offraud on the U.S. Government, which resulted in damages thereto.^').
             HUD Handbook 4155.1 is incorporated by reference into the SAC. See, e.g., SAC 1I1[ 6.a.ii-iii, 6.b.viii,
  6.c.vii, 6.d.iii.


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  among other things, a "collection account[]," "charge off account[]," or "judgment[]," then the

  underwriter "is not required to obtain an explanation." Id. at Section II.A.4.b.iii.A (emphasis

  added). Moreover, certain obligations that are represented as "debt" on a typical credit report are

  not considered "debt" for the purposes of underwriting an FHA loan. See id. at Section

  II.A.4.b.iv.Q. Thus, without additional detail regarding the nature of the debts that Relator

  alleges were insufficiently documented or explained, Relator fails to provide sufficient "context

  which would enable a reader of the complaint to understand why [Carrington's] alleged actions

  amount to [a violation of HUD guidelines]." United States ex rel Presser v. Acacia Mental

  Health Clinic, LLC, 836 F.3d 770, 780 (7th Cir. 2016). Of course, Relator is unable to provide

  this context given her lack of independent knowledge about any of these loan-specific

  allegations, whichwere derived purely fi:om discovery materials.

         More generally, Relator bases all of her loan-specific and claim-specific allegations on

  her after-the-fact review and interpretation of loan files produced by Carrington. If Relator

  alleges that a particular document, such as a gift letter, is notin the file, she states in a conclusory

  fashion that the missing document is a violation of HUD guidelines. See, e.g., SAC H6.a.i. In

  doing so, Relator makes several leaps and assumptions that are unsupported by any facts alleged

  in the SAC. She does not allege that these loanfiles should typically contain gift letters, or other

  allegedly missing documentation, or that such documentation was not collected and provided to
  HUD at a later date. Nor does she allege that these loan files are the complete universe of

  documents applicable to a loan, firom application to post-closing. And she cannot because she

  does not know: She had never heard of these loans before discovery commenced in this case. In

  other words, insofar as Relator bases her claims on these loan files, her allegations are limited to
  their contents.




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         It is no surprise that Relator also has trouble alleging the "who" and "where" of the

  alleged fraud. She has no personal and independent knowledge of how these loans were

  underwritten, thus she is unable to identify where the four loans were originated, or which

  "specific individual" underwrote the Sample Loans. Order at 12. As such, the allegations in the

  SAC do not come close to satisfying the "who, what, when, where and how" requirement that

  this Circuit has endorsed.

               2.        Allegations Regarding Data Manipulation.

         Relator's second attempt to plead falsity fares no better. The SAC alleges that Carrington

  employees manipulated AUS/TOTAL by entering data "that lacked integrity," SAC ^ 40, "in

  order to determine the data point values that would generate an 'accept/approve' rating." Relator

  claims that "[m]any of these employees then communicated the qualifying data point values to

  the borrowers or their agents, thus inviting borrower fraud." Id. These allegations do not differ

  from what was alleged in the Amended Complaint in any meaningful way. Indeed, the only new

  information Relator has provided with respect to this category of conduct is a catchall reference

  to "Paragraph 6" peppered throughout the SAC. See, e.g., id.     8, 40-41. However, the reference

  to Paragraph 6 does not cure several pleading deficiencies with respect to this bucket of claims.

          First, Paragraph 6 of the SAC - which references four specific loans pulled from

  Carrington's discovery productions - only alleges that certain unnamed Carrington underwriters

  made multiple DU submissions. As discussed supra at Section 11.A.1., Relator fails to allege

  which HUD requirements are violated by the submission of multiple DU reports. Indeed, it is

  entirely plausible that these multiple reports were submitted for reasons other than to determine
  qualifying data point values. Without pointing to a specific regulation that prohibits these
  practices, Relator's allegations amount to nothing more than her "subjective disagreement with



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  [Carrington] on the most prudent course of action[,]. . . . [which] is not a sufficient basis for a

  fraud claim." Presser^ 836 F.Sd at 780.

         Second, Relator still fails to offer any requisite details to support her allegation that

  Carrington "communicated the qualifying data point values to the borrowers or their agents, thus

  inviting borrower fraud." SAC 1140; see also id. 11118, 41. Nowhere does Relator allege that

  Carrington employees actually communicated the results of these DU submissions to borrowers

  or their agents. Further, Relator fails to allege which HUD requirements are violated by any

  alleged communication of qualifying data points to borrowers.

         Third, and most significantly, Relator does not even allege that any of the data ultimately

  submitted by borrowers was actually false. Indeed, her lack of independent knowledge of any of

  the loans named in the SAC prevents her from doing so. Instead, all that can be gleaned from the

  SAC is that "many Carrington loan officers and/or underwriters" continued to work with loan

  applicants to obtain the funding they needed to purchase or refinance their homes—^the precise

  goals of the FHA program. Id. H40.

               3.        Allegations Regarding Self Reporting Violations.

         Relator's third attempt to plead falsity fails as she does not cite to any specific false

  claims for this category of alleged conduct. Relator's SAC continues to allege that a Carrington

  employee purportedly directed Relator not to report inthe FHA Connection system a denial for a

  specific loan application, violating what Relator claims is a HUD self-reporting requirement.

  SAC H9. However, as it ruled previously, the Court should dismiss the allegations with respect
  to the specific loan mentioned in Paragraph 9 because "Calderon again fails to provide a
  connection between the allegedly wrongful practice and any specific loan or subsequent default

  of that loan that would require the government to pay Carrington." Order at 14; see also Garst,

  328 F.3d at 378 (affirming dismissal of claims where the complaint described "specific

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  allegations of deceit," but "fail[ed] to link them to any claim for payment"); Crews, 460 F.3d at

  856 (granting motion to dismiss where qui tam action failed because "relator did not provide a

  single false claim that was actually submitted."); United States ex rel Soulias v. Nw. Univ., 2013

  WL 3275839, at *3 (N.D. 111. June 27, 2013) ("To satisfy Rule 9(b) for an FCA claim, a relator

  must plead at least some actual examples of false claims.").

         And Relator does nothing to "rebut the inference that Carrington performed quality audits

  and uncovered nothing." Order at 14. Her SAC does not allege that Carrington determined any

  loan to be fraudulent in its quality reviews, which Calderon admits was performed by Carrington

  on its loans. SAC    9, 39.

         Relator makes a last-ditch attempt to save this bucket of allegations by loosely

  referencing Paragraph 6 - her loan-specific allegations from discovery material. Id. 119.

  However, the allegations in Paragraph 6 make no mention of any self-reporting violation, or any

  quality control review that revealed a determination of fraud on the loans. Id. H6. As such, her

  allegations fall woefully short of pleading falsity on this bucketof claims.

               4.        Allegations Regarding Delay In Submission of Loans to FHA.

         Aside from Paragraph 6 (and the blanket references to that paragraph that appear

  throughout the SAC), the only additional allegation Relator makes concerns a new category of

  peripherally fraudulent conduct, unrelated to FHA underwriting. SAC H10. Relator vaguely

  alleges that, "[i]n late 2014 and early 2015," certain Carrington employees directed underwriters

  to "get thousands of FHA loans properly insured." SAC H10. Relator claims that "[m]any of
  these loans had been closed for many months . . . without Carrington having submitted them to

  FHA for mortgage insurance coverage," and that "borrowers were paying Carrington mortgage

  insurance premiums" during this time. Id.




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         Relator's allegations with respect to this category of conduct are glaringly deficient: (1)

  Relator fails to cite any HUD requirement or other rule that was violated by this alleged practice;

  (2) Relator does not attempt to.name any specific Carrington employees that were involved in

  the purported fi*aud; (3) Relator provides no details of where the fraud occurred; (4) Relator

  cannot identify a single loan that was insured pursuant to the allegedly fraudulent scheme; and

  (5) Relator does not allege that any loans involved in the purported fi-audulent scheme resulted in

  claims made to the government. Id. The allegations entirely ignore the "who, what, when, where,

  and how" requirement of Rule 9(b).

         Further, to the extent Relator is alleging this practice was fraudulent because "borrowers

  were paying Carrington mortgage insurance premiums, when in fact their mortgages were not

  insured," id., the PGA is only concerned with frauds perpetrated against the government, not

  private individuals. See Hindo v. Univ. ofHealth Sets./Chicago Med. Sch., 65 F.3d608, 612 (7th

  Cir. 1995) ("Anaim of the Act is to encourage 'private individuals who are aware of fi-aud being

  perpetrated against the Government to bring such information forward.'") (quoting H.R. Rep.

  No. 99-660, at 23 (1986)). For these reasons, the allegations in Paragraph 10 fail to allegefalsity.

         B.      The Second Amended Complaint Fails to Allege Seienter.

         The FCA also requires plaintiffs to allege specific, particularized facts demonstrating that

  the defendant had "actual knowledge" of the falsehood, or acted in "deliberate ignorance" or

  "reckless disregard" of it. Yannacopoulos, 652 F.3d at 833 n.l4 (citing 31 U.S.C. § 3729(b));

  see also Doe v. Houchens Indus., Inc., 2015 WL 133706, at *4 (S.D. Ind. Jan. 9, 2015) (Young,

  J.) (same). The Supreme Court has recently stressed the importance of the FCA's seienter

  requirement, noting that it is"stringent," "rigorous," and intended to address "concerns about fair
  notice and open-ended liability." Universal Health Servs., Inc. v. United States, 136 S. Ct. 1989,
  1994,2002 (2016).


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           Relator continues to allege in conclusory fashion that Carrington "knowingly, or acting

  with deliberate ignorance and/or with reckless disregard for the truth, presented or caused to be

  presented false or fraudulent claims" and "false records and/or statements." SAC                     47, 52. To

  support this conclusion, Relator alleges that (1) Carrington knew or should have known that the

  certifications and claims it made were false, (2) Carrington knowingly or recklessly encouraged

  borrower fraud, and (3) Carrington knew that it was required to report borrower fraud under an

  unidentified HUD self-reporting requirement.^^ For purposes of efficiency, Carrington
  respectfully refers the Court back to its Memorandum of Law in Support of its Motion to

  Dismiss the Amended Complaint (Dkt. 49) at 17-23 for an analysis on why Relator fails to allege

  scienter with these vague, conclusory statements - an analysis with which the Court concurred:

  "The court agrees with Carrington that allegations in the Amended Complaint with respect to

  what Carrington knew or should have known are too vague to satisfy the relaxed scienter

  requirement." Order at 15.

           Relator's new allegations in the SAC do nothing to change that analysis. Although

  Relator has now identified specific loans that resulted in claims - albeit impermissibly from

  discovery materials produced by Carrington - Relator is still unable to allege any actual

  knowledge, deliberate ignorance, or reckless disregard by Carrington employees thatworked on

  these loans because Relator does not allege that she nor any other specific Carrington employee

  had contemporaneous knowledge of the alleged fraud.

           Relatoris also unable to allegeeven an inference of scienterbecause she has not provided

  the particularized details that the Court requested in its Order:



           The SAC does not bother to allege evena conclusory statement of scienter for the allegations pertaining to
  any delay in submitting loans for mortgage insurance. See SAC If 10. As such, the Court should dismiss these
  allegations for failure to plead scienter, as well as falsity.


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         [Calderon] never provides a connection between any one defect that made any
         loan with that defect universally unacceptable and the default of that loan such
         that Carrington would seek payment under the relevant insurance contract.
         Further, the Amended Complaint all but admits that underwriting a loan is a
         discretionary activity that can be subjective, even under HUD's guidelines. In
         such a circumstance, more details seem to be necessary to support an inference
         that Carrington knowingly falsified material data for hundreds or thousands of
         HUD insured loans that were later defaulted. Specifically, such details might
         include what specific inaccuracies were perpetrated, how they were
         universally unacceptable, and why, more likely than not, those decisions led
         to default.


  Order at 15-16 (citations omitted) (emphasis added).

         With respect to "specific inaccuracies," as discussed supra at Section II.A.1., there are

  serious flaws in Relator's falsity allegations for the specific loans cited in Paragraph 6 of the

  SAC. And if Relator has not sufficiently alleged a violation of a particular HUD requirement, she

  cannot establish that Carrington knew or should have known that the alleged violations rendered

  the loans ineligible for FHA insurance.

         Even if the Court accepts that Relator has alleged specific inaccuracies with respect to the

  loans named in the SAC, there are absolutely no allegations that these inaccuracies were

  universally unacceptable: Relator does not claim that any one inaccuracy, in all instances, would

  have been regarded by HUD as fatal to FHA's insurance of the loan. As such, there is nothing to

  suggest that the alleged inaccuracies wereknowing, ratherthan inadvertent, errors by Carrington,

  which are "not actionable" under the FCA. Yannacopoulos, 652 F.3d at 832; see also United

  States ex rel Main v. Oakland City Univ., 426 F.3d 914, 917 (7th Cir. 2005) ("[F]raud requires

  more than breach of promise: fraud entails making a false representation, suchas a statement that

  the speaker will do something it plans not to do. Tripping up on a regulatory complexity does not

  entail a knowingly false representation."); United States ex rel Rockey v. Ear Inst. of Chicago,

  LLC, 92 F. Supp. 3d 804, 820 (N.D. 111. 2015) (same). In fact, Relator's own allegations suggest



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  that any inaccuracies could be plausibly attributed to the fact that underwriting a loan is a

  discretionary risk assessment made by imderwriters and expressly authorized by HUD. SAC

  17-20, 26; 24 C.F.R. § 203.5(d).

         Accordingly, the Court should once again dismiss Relator's scienter allegations as "too

  vague to satisfy [even] the relaxed scienter requirement." Order at 15.

         C.      The Second Amended Complaint Fails to Allege Materiality.

         As the Court recognized, materiality is an independent prerequisite of any FCA claim.

  Order at 16-18; see also Allison Engine Co. v. United States ex rel. Sanders^ 553 U.S. 662, 665

  (2008) (explaining that to be actionable, a false statement must be "material to the Government's

  decision to pay or approve the false claim"); accord Rockey, 92 F. Supp. 3d at 822. Recently, the

  Supreme Court announced in Universal Health Servs., Inc. that the FCA's materiality

  requirement is "rigorous" and "demanding." 136 S. Ct. at 1994, 2002. The Universal Health

  Services Court set out several factors to evaluate the requirement including: "(1) whether the

  government expressly identifies a provision as a condition of payment; (2) whether the defendant

  knows that the government consistently refuses to pay claims in the 'mine run of cases based on

  noncompliance with the particular statutory, regulatory, or contractual requirement' at issue; (3)

  whether the government pays claims in full despite actual knowledge that certain requirements

  were violated; and (4) whether the government pays claims in full despite actual knowledge that

  certain requirements were violated and has signaled that it will not change its position." Order at

  16 (citing Universal Health Servs., Inc., 136 S. Ct. at 2003).

         This Court has already held that Relator's Amended Complaint failed to plead the

  materiality element of an FCA claim. Order at 17 ("[T]he Court must agree with Carrington that

  the Amended Complaint in this case is deficient with respect to the materiality element.").

  Specifically, the Court stated:

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          Rather than providing examples of regulatory and/or guideline violations that
          HUD has considered material in other cases, the Amended Complaint merely
          recites in a generalized manner that hundreds or thousands of loans "contained at
          least one material violation of the applicable HUD underwriting guidelines."
          There is no attempt to address or provide facts from which an inference can be
          drawn that the "at least one" unidentified violation was actually material to any
          decision made by HUD, much less a decision to pay Carrington.

  Order at 17-18 (internal citation omitted.)

          Relator's SAC makes no attempt to cure these deficiencies. It still cites in a generalized

  maimer that "[t]housands" of "loans contained at least one material violation of the applicable

  HUD underwriting guidelines." SAC K39. And with regards to the specific loans she cites that

  are derived from discovery materials, Relator makes no allegation that any of the specific

  underwriting violations - to the extent that any are identified by Relator - were material to

  decisions made by HUD - i.e., that the supposed violations are so central to the FHA program

  that HUD routinely denies insurance, "routinely rescinds contracts," or routinely requires

  indemnification based on the alleged violations. Universal Health Servs., Inc., 136 S. Ct. at

  2001.'"^ In fact, there is no allegation thatHUD ever rejected loans forthese supposed violations,

  never mind routinely.

          The Court made clear Relator "must at least try to make a connection between the

  allegedly fraudulent underwriting decisions and HUD's subsequent payment of funds to

  Carrington." Order at 18. Relator has done no such thing. As such, to allow Relator to proceed

  on the current allegations would render the FCA "an all-purpose antifraud statute, or a vehicle

  for punishing garden-variety breaches of contract or regulatory violations." Universal Health


           Courts applying the Universal Health Services test have not hesitated to dismiss complaints for failing to
  plead facts showing materiality. See e.g.. United States v. Sanford-Brown, Ltd., 840 F.3d 445,447-8 (7th Cir. 2016);
  United States ex ret. Presser v. Acacia Mental Health Clinic, LLC, 836 F.3d 770, 779 (7th Cir. 2016); City of
  Chicago V. Purdue Pharma L.P.,2\\Y. Supp. 3d 1058, 1078-79 (N.D. 111. 2016); United States exrel. Scharffv.
  Camelot Counseling, 2016 WL 5416494, at »8-9 (S.D.N.Y. Sept. 28, 2016); United States ex rel. Lee v. N. Adult
  DailyHealthCare Ctr.,2016 WL4703653, at *11-12 (E.D.N.Y. Sept. 7, 2016).



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  Servs., Inc., 136 S. Ct. at 2003 (internal citation and quotation marks omitted); see also

  Yannacopoulos, 652 F.3d at 824 n.4 ("Violations of laws, rules, or regulations alone do not

  create a cause of action under the FCA."); Gross, 415 F.3d at 604 ("An FCA claim premised

  upon an alleged false certification of compliance... also requires that the certification of

  compliance be a condition of or prerequisite to government payment."); United States ex rel

  Durcholz V. FKWInc., 189 F.3d 542, 545 n.2 (7th Cir. 1999) ("[T]he FCA is not an appropriate

  vehicle for policing technical compliance with administrative regulations.").

         Separately, Relator also fails to satisfy the materiality requirement because she does not

  allege that Carrington had knowledge that certain underwriting requirements were material to

  HUD's payment decision. In Universal Health Services, the Supreme Court also held that an

  FCA complaint must allege facts to show that "the defendant knowingly violated a requirement

  that the defendant knows is material to the Government's payment decision," 136 S. Ct. at 1996

  (emphasis added). Thus, a complaint must plead facts showing that"the defendant knows that the

  Government consistently refuses to pay claims in the mine run of cases based on noncompliance

  with the particular statutory, regulatory, or contractual requirement" at issue. Id. at 2003

  (emphasis added). For purposes of efficiency, Carrington respectfully refers the Court to its

  discussion of this issue in its Memorandum of Law in Support of its Motion to Dismiss the

  Amended Complaint. See Def. Mot. to Dismiss Am. Compl. (Dkt. 49) at 23-28. The same

  analysis applies here as the relevant allegations have notchanged with Relator's latest pleading.

         For these reasons, Relator's SAC should be dismissed for failing to meet the materiality

  requirement as well.




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  III.   THE COURT SHOULD DISMISS THE SECOND AMENDED COMPLAINT
         WITH PREJUDICE.

         Fed. R. Civ. P. 15 allows litigants to amend their pleadings "once as a matter of course"

  and then either "with opposing party's written consent" or with the "court's leave." Fed. R. Civ.

  P. 15(a). While courts should "give leave when justice so requires," id.. Rule 15 does "not

  mandate that leave be granted in every case." Park v. City of Chicago, 297 F.3d 606, 612 (7th

  Cir. 2002). In the Seventh Circuit, it is well settled that leave to amend can and should be denied

  when there is "repeated failure to cure deficiencies by amendments previously allowed[.]"

  Airborne Beepers      Video, Inc. v. AT & T Mobility LLC, 499 F.3d 663, 666 (7th Cir. 2007).

  Here, Relator has "repeatedly failed to remedy the same deficiency," and should not be given

  leave to amend her pleading any further. Gen. Elec. Capital Corp. v. Lease Resolution Corp.,

  128 F.3d 1074,1085 (7th Cir. 1997).

         This is the third time Relator has attempted to plead her claims. In Carrington's motion to

  dismiss the original Complaint, it pointed out that Relator had failed to plead even one loan

  number or employee involved in the fraudulent conduct. See Mem. of Law in Support of Def.

  Mot. to Dismiss Compl. (Dkt. 26) at 9-13. Relator subsequently amended her Complaint (Dkt.

  40) as a matter of course before briefing on Carrington's motion to dismiss was complete, and in

  so doing conceded the insufficiency of her initial pleading before the Court. Then, after the Court

  dismissed all her allegations for failure to "connect an FHA-insured mortgage obtained through a

  fraudulent practice to a claim for payment on a defaulted loan made by Carrington," Order at 12-

  13, Relator amended her pleading yet again to include information gleaned from discovery on

  loans that resulted in claims. Dkt. 79. As discussed supra at Section I.E., this use of discovery

  material is both improper and insufficientto sustain her claims.




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          The Court's specific instructions to Relator on how to cure her deficiencies in the

  Amended Complaint are worth revisiting if only to showthat Relator has not complied with any

  of them. Relator still fails to:

              •   "Connect[] a single loan to a specific fraudulent underwriting practice performed
                  by a specific individual." Order at 12.
              •   "Allege facts that create an inference that at least one of the 27,000 claims she
                  found more likely than not links back to a falsely-certified loan." Id. at 13.
              •   "Point[] to any loan that Carrington determined to be fraudulent." Id. at 14.
              •   Provide an argument "to rebut the inference that Carrington performed quality
                  audits and uncovered nothing." Id. at 14.
              • "[P]rovide[] a connection between any one defect that made any loan with that
                defect universally unacceptable and the default of that loan such that Carrington
                  wouldseek payment underthe relevant insurance contract." Id. at 15.
              •    Allege details about "what specific inaccuracies were perpetrated, how they were
                  imiversally unacceptable, and why, more likely than not, those decisions led to
                   default." Id. at 15-16.
              • "[P]rovid[e] examples of regulatory and/or guideline violations that HUD has
                   considered material in other cases." Id. at 17.
              •    "[A]t least try to make a connection between the allegedly fraudulent
                   underwriting decisions and HUD's subsequent payment of funds to Carrington."
                   Id. at 18.


          The Court has provided Relator with ample guidance on what she needs to allege in order

  to comport with Rule 9(b). Save for the inclusion of one numbered paragraph, which consists
  solely of impermissibly-included information obtained during discovery, Relator's allegations in
  the SAC remain the same. In other words, she has nothing new to bring to the table. At some

  point, "enough is enough." Atkins v. City ofChicago, 631 F.3d 823, 832 (7th Cir. 2011); see also
  United States ex rel. Lisitza v. Par Pharm. Cos., 2013 WL 870623, at *7 (N.D. 111. Mar. 7, 2013)

  ("This isthe third version ofthe relator's expansive complaint, which has also been reviewed and
  considered by the United States (which declined after its own investigation to intervene in the

  claims asserted against these defendants). There is, therefore, little reason to believe that further
  amendmentis likely to cure the complaint's failure[s].").




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         Accordingly, Carrington urges this Court to exercise its rights "dismiss Q the complaint,

  with prejudice, for [Relator's] inability or unwillingness to conform [her] pleadings to Rules 8

  and 9." Garst, 328 F.3d at 376; see also Stanard v. Nygren, 658 F.3d 792, 801 (7th Cir. 2011)

  (affirming district court decision dismissing plaintiff's complaint with prejudice and denying

  plaintiff leave to file a second amended complaint where plaintiffs amended complaint had

  failed to comport with "basic instructions from the court"). AccordAirborne Beepers & Video,

  499 F.3d at 667-6S; Gen. Elec. Capital, 128 F.3d at 1085. To allow Relator to further amend her

  pleading, particularly when she has demonstrated no independent knowledge of a fraudulently

  underwritten loan that resulted in a claim, would prejudice Carrington by unnecessarily

  prolonging this litigation and forcing it to undergo the cost and burden of briefing a fourth

  motion to dismiss Relator's insufficient allegations.

                                           CONCLUSION


         For all of the foregoing reasons, Carrington respectfully requests that the Court dismiss

  Relator's SecondAmended Complaint in its entirety with prejudice.

  Dated: March 2, 2018                               By: /s/Jeanine Kerridse

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                                                 Attorneysfor Defendant
                                                 Carrington Mortgage Services LLC



                                CERTIFICATE OF SERVICE


         The undersigned hereby certifies that on the 2nd day of March, 2018, a copy of the

  foregoing was filed electronically using the CM/ECF system and is available to all counsel of

  record using same.



                                            /s/Jeanine Kerrid2e
                                            Jeanine Kerridge




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